                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


National Union Fire Company,                  )
                                              )
         Appellant                            )   Civil Action No. 22-cv-1237 (RGA)
                                              )
v.                                            )
                                              )
Boy Scouts of America & Delaware BSA LLC,     )
                                              )
       Appellee.                              )
Travelers Casualty and Surety Company, Inc.   )
                                              )
         Appellant                            )   Civil Action No. 22-cv-1238 (RGA)
                                              )
v.                                            )
                                              )
Boy Scouts of America & Delaware BSA LLC,     )
                                              )
      Appellee.                               )
Old Republic Insurance Company,               )
                                              )
         Appellant                            )   Civil Action No. 22-cv-1239 (RGA)
                                              )
v.                                            )
                                              )
Boy Scouts of America & Delaware BSA LLC,     )
                                              )
      Appellee.                               )
General Star Indemnity Company,               )
                                              )
         Appellant                            )   Civil Action No. 22-cv-1240 (RGA)
                                              )
v.                                            )
                                              )
Boy Scouts of America & Delaware BSA LLC,     )
                                              )
       Appellee.                              )
Indian Harbor Insurance Company,              )
                                              )
         Appellant                            )   Civil Action No. 22-cv-1241 (RGA)
v.                                            )
                                              )
Boy Scouts of America & Delaware BSA LLC,     )
                                              )
         Appellee.                            )
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Munich Reinsurance America, Inc.            )
                                            )
         Appellant                          )   Civil Action No. 22-cv-1242 (RGA)
                                            )
v.                                          )
                                            )
Boy Scouts of America & Delaware BSA LLC,   )
                                            )
       Appellee.                            )
Arch Insurance Company, et al.,             )
                                            )
         Appellant                          )   Civil Action No. 22-cv-1243 (RGA)
                                            )
v.                                          )
                                            )
Boy Scouts of America & Delaware BSA LLC,   )
                                            )
       Appellee.                            )
Great American Assurance Company et al.,    )
                                            )
         Appellant                          )   Civil Action No. 22-cv-1244 (RGA)
                                            )
v.                                          )
                                            )
Boy Scouts of America & Delaware BSA LLC,   )
                                            )
      Appellee.                             )
The Continental Insurance Co, et al.,       )
                                            )
         Appellant                          )   Civil Action No. 22-cv-1245 (RGA)
                                            )
v.                                          )
                                            )
Boy Scouts of America & Delaware BSA LLC,   )
                                            )
         Appellee.                          )




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Gemini Insurance Company,                       )
                                                )
         Appellant                              )   Civil Action No. 22-cv-1246 (RGA)
                                                )
v.                                              )
                                                )
Boy Scouts of America & Delaware BSA LLC,       )
                                                )
       Appellee.                                )
Traders and Pacific Insurance Company et al.,   )
                                                )
         Appellant                              )   Civil Action No. 22-cv-1247 (RGA)
                                                )
v.                                              )
                                                )
Boy Scouts of America & Delaware BSA LLC,       )
                                                )
      Appellee.                                 )
D & V Claimants,                                )
                                                )
         Appellant                              )   Civil Action No. 22-cv-1249 (RGA)
                                                )
v.                                              )
                                                )
Boy Scouts of America & Delaware BSA LLC,       )
                                                )
      Appellee.                                 )
Argonaut Insurance Company et al.,              )
                                                )
         Appellant                              )   Civil Action No. 22-cv-1250 (RGA)
                                                )
v.                                              )
                                                )
Boy Scouts of America & Delaware BSA LLC,       )
                                                )
      Appellee.                                 )
Arrowood Indemnity Company,                     )
                                                )
         Appellant                              )   Civil Action No. 22-cv-1251 (RGA)
                                                )
v.                                              )
                                                )
Boy Scouts of America & Delaware BSA LLC,       )
                                                )
         Appellee.                              )




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Liberty Mutual Insurance Company, et al.,               )
                                                        )
         Appellant                                      )   Civil Action No. 22-cv-1252 (RGA)
                                                        )
v.                                                      )
                                                        )
Boy Scouts of America & Delaware BSA LLC,               )
                                                        )
      Appellee.                                         )
The Tort Claimants,                                     )
                                                        )
         Appellant                                      )   Civil Action No. 22-cv-1258 (RGA)
                                                        )
v.                                                      )
                                                        )
Boy Scouts of America & Delaware BSA LLC,               )
                                                        )
       Appellee.                                        )
Allianz Global Risks US Insurance Company,              )
                                                        )
         Appellant                                      )   Civil Action No. 22-cv-1263 (RGA)
                                                        )
v.                                                      )
                                                        )
Boy Scouts of America & Delaware BSA LLC,               )
                                                        )
         Appellee.                                      )

                           NOTICE OF APPEARANCE
             FOR THE PURPOSE OF RECEIVING NOTICES AND PLEADINGS

         Please enter the appearance of Rachel B. Mersky of Monzack Mersky and Browder, P.A. as

counsel for the Coalition of Abused Scouts for Justice in the above captioned matter.



                                             MONZACK MERSKY AND BROWDER, P.A.

Dated: October 6, 2022                       /s/ Rachel B. Mersky
                                             Rachel B. Mersky (DE Bar No.: 2049)
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